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                       UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF PENNSYLVANIA


 SHIRLEY SUTTER, GLEN                      :
 SUTTER, husband and wife,
                      Plaintiffs           :    CIVIL ACTION NO. 3:20-182
             v.                            :        (JUDGE MANNION)
 CASCADES TISSUE GROUP –                   :
 PENNSYLVANIA, INC. et al.
                      Defendants           :


                                      ORDER

                  Motions in limine, together with their supporting briefs (which
shall not exceed 5 pages in length), shall be due on or before October 25,
2021. Opposing briefs shall be filed on or before November 1, 2020.
        The Final Pretrial Conference will be held on Tuesday, November
23, 2021 at 10:30 a.m., in the William J. Nealon Federal Building & U.S.
Courthouse, 235 N. Washington Ave., Scranton, PA in Courtroom 3.
        The Trial will begin with jury selection at 9:30 a.m. on Monday,
December 13, 2021, in the location noted above.



                                         s/ Malachy E. Mannion
                                         MALACHY E. MANNION
                                         United States District Judge
Dated: July 23, 2021
20-182-01
